                   Case 1-17-43078-nhl        Doc 75     Filed 04/04/19     Entered 04/04/19 12:12:27
     0022-47-EPIP47-00063690-81719




                United States Bankruptcy Court
                Eastern District of New York
                                                              X           tmdr3574
                IN RE:
                                                                          Chapter 13 Case No: 117-43078-NHL

                            BEGUM S NASSA
                            58-64 43RD AVENUE
                            1ST FLR
                            WOODSIDE, NY 11377




                                            DEBTOR(s),
                                                              X


                                                 CERTIFICATION OF PAYMENTS
                                                   TO CHAPTER 13 TRUSTEE


                        Marianne DeRosa, Chapter 13 Trustee, states that upon information and
                belief, the Debtor(s) tendered all trustee payments under the terms of the
                Chapter 13 plan.


                         A Final Report and Account will be filed with the Clerk of the Court when
                all disbursements to creditors have cleared her bank account and, therefore,
                requests the court keep the case open pending receipt of the Final Report and
                Account.



                Dated: Jericho, New York                             /s/Marianne De Rosa
                       Mar 29, 2019
                                                                     Marianne De Rosa
                                                                     Chapter 13 Trustee




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